Case 1:17-cv-00124-LLS Document 314-6 Filed 10/03/22 Page 1 of 8




                    EXHIBIT E
Case 1:17-cv-00124-LLS Document 314-6 Filed 10/03/22 Page 2 of 8




 1                     UNITED STATES DISTRICT COURT
 2                   SOUTHERN DISTRICT OF NEW YORK
 3
 4     FEDERAL TRADE COMMISSION and          )
 5     THE PEOPLE OF THE STATE OF            )
 6     NEW YORK, BY LETITIA JAMES,           )   Case No.
 7     ATTORNEY GENERAL OF THE STATE         )   1:17-cv-00124-LLS
 8     OF NEW YORK,                          )
 9               Plaintiffs,                 )
10         vs.                               )
11     QUINCY BIOSCIENCE HOLDING             )
12     COMPANY, INC., a corporation,         )
13     et al.,                               )
14               Defendants.                 )
15
16                CONFIDENTIAL - ATTORNEYS' EYES ONLY
17
18    Wednesday, October 20, 2021, Via Zoom Videoconference
19
20                The above-entitled matter came on for
21    deposition, pursuant to notice, at 9:30 a.m., for the
22    testimony of:
23                        DAVID KATZ, M.D., MPH
24
25    Reported by:     Deborah Wehr, RPR
Case 1:17-cv-00124-LLS Document 314-6 Filed 10/03/22 Page 3 of 8



                                                                                2
                                 Katz, M.D., MPH - Confidential
FTC, et al. v. Quincy Bioscience Holding, et al.                         10/20/2021

   1     APPEARANCES:
   2
   3     ON BEHALF OF PLAINTIFFS:
   4                 ANNETTE SOBERATS, ESQUIRE
   5                 EDWARD GLENNON, ESQUIRE
   6                 ANDREW WONE, ESQUIRE
   7                 WILLIAM DUCKLOW, INVESTIGATOR
   8                 DAVID OVADIA, ECONOMIST
   9                 600 Pennsylvania Avenue, N.W.
 10                  Washington, D.C.           20850
 11                  (202) 326-3148
 12                  annette.soberats@ftc.gov
 13
 14      KATE MATUSCHAK, ESQUIRE
 15                  Attorney General of the State of New York
 16                  Consumer Frauds and Protection Bureau
 17                  28 Liberty Street
 18                  New York, New York            10005
 19                  (212) 416-6189
 20                  kate.matuschak@ag.ny.gov
 21
 22
 23
 24
 25      (Appearances continued on next page.)


                                   For The Record, Inc.
                      (301) 870-8025 - www.ftrinc.net - (800) 921-5555
Case 1:17-cv-00124-LLS Document 314-6 Filed 10/03/22 Page 4 of 8



                                                                                3
                                 Katz, M.D., MPH - Confidential
FTC, et al. v. Quincy Bioscience Holding, et al.                         10/20/2021

   1     (Appearances continued.)
   2
   3     ON BEHALF OF CORPORATE DEFENDANTS:
   4                 GEOFFREY W. CASTELLO, ESQUIRE
   5                 JACLYN M. METZINGER, ESQUIRE
   6                 GLENN GRAHAM, ESQUIRE
   7                 CAITLIN R. HICKEY, ESQUIRE
   8                 Kelley Drye & Warren, LLP
   9                 101 Park Avenue
 10                  New York, New York 10178
 11                  (212) 808-7800
 12                  gcastello@kelleydrye.com
 13
 14      ON BEHALF OF DEFENDANT UNDERWOOD:
 15                  MICHAEL B. de LEEUW, ESQUIRE
 16                  TAMAR S. WISE, ESQUIRE
 17                  Cozen O'Connor
 18                  45 Broadway Atrium
 19                  Suite 1600
 20                  New York, New York            10006
 21                  (212) 908-1331
 22                  mdeleeuw@cozen.com
 23
 24      ALSO PRESENT:
 25      ERIC VAVRASEK, VIDEOGRAPHER


                                   For The Record, Inc.
                      (301) 870-8025 - www.ftrinc.net - (800) 921-5555
Case 1:17-cv-00124-LLS Document 314-6 Filed 10/03/22 Page 5 of 8



                                                                                  211
                                 Katz, M.D., MPH - Confidential
FTC, et al. v. Quincy Bioscience Holding, et al.                             10/20/2021

   1     scroll to page 28 of the PDF, which is page 26 of your
   2     report, and if you could navigate to paragraph 61.
   3           A.    I'm actually seeing that on page 27.
   4           Q.    Just a moment.          Okay.      In paragraph 61, you
   5     write, "Thus, the expected movement in one relative to
   6     the other would not be an independent measure but a
   7     confirmatory one.            Similarly, measures of different
   8     dimensions of cognitive function are likely to be
   9     highly correlated.            The 'seemingly unrelated
 10      regression' approach is a more appropriate method to
 11      deal with related measures as opposed to the Bonferroni
 12      correction."         Is it your opinion that SUR and the
 13      Bonferroni correction are mutually exclusive
 14      statistical techniques?
 15            A.    No, not within the context of the given study.
 16      No, rather the opposite.               It's my impression they do
 17      very different things.
 18            Q.    And what issue does the Bonferroni correction
 19      account for?
 20            A.    It's a correction for multiplicity, testing
 21      multiple hypotheses or using multiple independent
 22      outcome measures in the same study.                      I won't embellish,
 23      but I certainly could imagine a study that would
 24      warrant something like a SUR analysis and a Bonferroni.
 25            Q.    Thank you.        If you could turn back to Exhibit


                                   For The Record, Inc.
                      (301) 870-8025 - www.ftrinc.net - (800) 921-5555
Case 1:17-cv-00124-LLS Document 314-6 Filed 10/03/22 Page 6 of 8



                                                                                 265
                                 Katz, M.D., MPH - Confidential
FTC, et al. v. Quincy Bioscience Holding, et al.                            10/20/2021

   1           C E R T I F I C A T I O N                  O F     R E P O R T E R
   2     DOCKET/FILE NUMBER: 1:17-cv-00124-LLS
   3     CASE TITLE:         FTC and THE PEOPLE OF THE STATE OF NEW
   4     YORK v. QUINCY BIOSCIENCE HOLDING COMPANY, INC., et al,
   5     DATE:     OCTOBER 20, 2021
   6
   7                 I HEREBY CERTIFY that the transcript contained
   8     herein is a full and accurate transcript of the notes
   9     taken by me at the hearing on the above cause before
 10      the FEDERAL TRADE COMMISSION to the best of my
 11      knowledge and belief.
 12                                    DATED:      10/27/2021
 13
 14
 15
 16
 17                                    s/Deborah Wehr
 18                                    DEBORAH WEHR, RPR
 19
 20
 21
 22
 23
 24
 25


                                   For The Record, Inc.
                      (301) 870-8025 - www.ftrinc.net - (800) 921-5555
Case 1:17-cv-00124-LLS Document 314-6 Filed 10/03/22 Page 7 of 8



                                                                              266
                                 Katz, M.D., MPH - Confidential
FTC, et al. v. Quincy Bioscience Holding, et al.                         10/20/2021

   1                               CERTIFICATE OF WITNESS
   2
   3                 I hereby certify that I have read and examined
   4     the foregoing transcript, and the same is a true and
   5     accurate record of the testimony given by me.
   6                 Any additions or corrections that I feel are
   7     necessary, I will attach on a separate sheet of paper
   8     to the original transcript.
   9                 I hereby certify, under penalty of perjury,
 10      that I have affixed my signature hereto on the date so
 11      indicated.
 12
 13
 14
 15      DATED:      November 5, 2021          _________________________
 16                                            DAVID KATZ, M.D., MPH
 17
 18
 19
 20
 21
 22
 23
 24
 25


                                   For The Record, Inc.
                      (301) 870-8025 - www.ftrinc.net - (800) 921-5555
Case 1:17-cv-00124-LLS Document 314-6 Filed 10/03/22 Page 8 of 8



                                                                                                        267
                                 Katz, M.D., MPH - Confidential
FTC, et al. v. Quincy Bioscience Holding, et al.                                                   10/20/2021

   1     WITNESS:           DAVID KATZ, M.D., MPH
   2     DATE:       OCTOBER 20, 2021
   3     CASE:       FTC v. QUINCY BIOSCIENCE, ET AL.
   4     Please note any errors and the corrections thereof on
   5     This errata sheet.                   The rules require a reason for any
   6     Change or correction.                          It may be general, such as "To
   7     Correct stenographic error," or "To clarify the
   8     Record," or "To conform with the facts."
   9     PAGE LINE                   CORRECTION                    REASON FOR CHANGE
 10     Page 12, line 22        change enumerable to innumerable              To correct typo

 11     Page 14, lines 12 and 22       change preventative to preventive      To correct typo

 12     Page 15, line 4                change preventative to preventive      To correct typo

 13     Page 16, line 7               change preventative to preventive       To correct typo

 14     Page 16, line 22              "trying to die"                          Removed word

 15     Page 17, line 23              change feed to feet                     To correct typo

 16     Page 18, line 8               "death and chronic disease"             To correct typo

 17    Page 22, lines 14-15           "to help develop then run"              To correct typo

 18     Page 22, line 16              change preventative to preventive        To correct typo

 19     Page 22, line 25              "Medicine Center. Leadership of"        To add punctuation

 20    Page 29, line 7                change in to and                       To correct typo

 21    Page 51, line 22               change talk to talking                 To correct typo

 22    Page 102, line 4              change end of one to n of 1             To correct typo

 23    Page 102, line 20             change protiated to protean            To correct typo

 24    Page 119, line 20      change independent to inter-dependent         To correct typo

 25    Page 129, line 25           change score add to scored a            To correct typo




                                        For The Record, Inc.
                           (301) 870-8025 - www.ftrinc.net - (800) 921-5555
